            CASE 0:20-cv-02520-MJD-HB Doc. 1 Filed 12/11/20 Page 1 of 18




                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA



SUSAN KNEISSEL,                                Case No.: 0:20-cv-02520
              Plaintiff,

v.                                             COMPLAINT AND
                                               DEMAND FOR JURY TRIAL
CARMAX AUTO FINANCE and
EQUIFAX INFORMATION SERVICES,
LLC,                                              1. FCRA, 15 U.S.C. §1681 et seq.
              Defendant.




       Plaintiff Susan Kneissel (“Plaintiff”), through her attorneys, alleges the following

against Defendant CarMax Auto Finance (“CarMax”) and Equifax Information

Services, LLC (“Equifax”):

                                      INTRODUCTION

       1.      Plaintiff’s Complaint alleges violations of the Fair Credit Reporting Act

(“FCRA”), 15 U.S.C. § 1681 et seq. against Defendant Equifax, a consumer reporting

agency, for reporting inaccurate information on Plaintiff’s credit report.

       2.      Plaintiff’s Complaint also alleges violations of the FCRA, against

Defendant CarMax for failing to conduct a reasonable reinvestigation after receiving

notice of Plaintiff’s dispute from Defendant Equifax.



///

///

                                             1
             CASE 0:20-cv-02520-MJD-HB Doc. 1 Filed 12/11/20 Page 2 of 18




                                JURISDICTION AND VENUE

        3.      The District Court has federal question jurisdiction over these claims

pursuant to 28 U.S.C. § 1331; 15 U.S.C. § 1681.

        4.      Venue in this District is proper pursuant to 28 U.S.C. 1391(b)(2) in that a

substantial part of the events or omissions giving rise to the claim occurred in this

district.

        5.      Defendants transact business here; as such, personal jurisdiction is

established.

                                            PARTIES

        6.      Plaintiff Susan Kneissel is a natural person residing in the city of Saint

Paul in Ramsey County, Minnesota.

        7.      Plaintiff is a consumer as defined by the FCRA, 15 U.S.C. §1681a(c).

        8.      Defendant CarMax is a car retailer and is also a furnisher, as defined in 15

U.S.C. § 1681s-2. Upon information and belief, CarMax is regularly engaged in the

business of furnishing credit information to the credit reporting agencies. CarMax’s

principal place of business is located at 12800 Tuckahoe Creek Parkway Richmond, VA

23238. CarMax can be served through its agent for service of process, Corporation

Service Company, located at 2345 Rice St, Suite 230, Roseville, MN 55113.

        9.      Defendant Equifax is a credit reporting agency, as defined in 15 U.S.C. §

1681a(f). Upon information and belief, Defendant is regularly engaged in the business of

assembling, evaluating, and disbursing information concerning consumers for the


                                              2
         CASE 0:20-cv-02520-MJD-HB Doc. 1 Filed 12/11/20 Page 3 of 18




purpose of furnishing consumer reports, as defined in 15 U.S.C. § 1681a(d), to third

parties. Equifax’s principal place of business is located at 1550 Peachtree Street NW,

Atlanta, Georgia, 30309. Equifax can be served through its agent for service of process,

Corporation Service Company, located at 40 Technology Parkway South #300, Norcross,

Georgia 30092.

       10.    Upon information and belief Equifax disburses consumer reports to third

parties under contract for monetary compensation.

       11.    At all relevant times, Defendants acted through duly authorized agents,

employees, officers, members, directors, heirs, successors, assigns, principals, trustees,

sureties, subrogees, representatives, and insurers.

       12.    Any violation by Defendants was not in good faith, was knowing,

negligent, willful, and/or intentional, and Defendants did not maintain procedures

reasonably adapted to avoid any such violation.

                                 FACTUAL ALLEGATIONS

       13.    Defendant Equifax reports consumer information about Plaintiff and other

consumers through the sale of consumer reports (credit reports).

       14.    Defendant Equifax’s credit reports generally contain the following

information: (i) Header/Identifying Information: this section generally includes the

consumer’s name, current and prior addresses, date of birth, and phone numbers; (ii)

Tradeline Information: this section pertains to consumer credit history, and includes the

type of credit account, credit limit or loan amount, account balance, payment history, and


                                              3
         CASE 0:20-cv-02520-MJD-HB Doc. 1 Filed 12/11/20 Page 4 of 18




status; (iii) Public Record Information: this section typically includes public record

information, such as bankruptcy filings; and (iv) Credit Inquiries: this section lists every

entity that has accessed the consumer’s file through a “hard inquiry” (i.e., consumer-

initiated activities, such as applications for credit cards, to rent an apartment, to open a

deposit account, or for other services) or “soft inquiry” (i.e., user-initiated inquiries like

prescreening).

       15.    Defendant Equifax gains access to consumer information from various

sources, including furnishers who provide consumer information to Defendants, and

information Defendants independently source themselves or through third party

providers/vendors or repositories, including computerized reporting services like

PACER.

       16.    The information reported by Defendant Equifax contributes to consumer

creditworthiness, including their FICO Scores, which are calculated using information

contained in Defendant’s consumer credit reports.

       17.    The majority of financial services lenders (e.g., banks, creditors, lender)

rely upon credit reports, FICO Scores and other proprietary third-party algorithms –

“scoring” models – to interpret the information in a credit report.

       18.    These algorithms use variables or “attributes” derived from the credit report

to calculate a “credit score,” which ultimately determines consumer creditworthiness.

       19.    FICO Scores factor the following: Payment history (35%); Amount of debt

(30%); Length of credit history (15%); New credit (10%); and Credit mix (10%).



                                              4
            CASE 0:20-cv-02520-MJD-HB Doc. 1 Filed 12/11/20 Page 5 of 18




       20.     Payment history refers to whether a consumer has paid his or her bills in the

past, and whether these payments have been timely, late or missed.

       21.     The more severe, recent, and frequent late payments are, the greater the

harm to the FICO Score.

       22.     In factoring the severity of delinquent payments, a FICO Score considers

how late the payment continues to be, how much is owed, how recently this occurred, and

how many delinquent accounts exist. However, once a delinquent account has been

remedied the longer the account stays current the more a consumer’s FICO Score should

increase.

       23.     Defendant Equifax obtained and reported Plaintiff’s consumer bankruptcy

information in both the Public Records section of her consumer credit report, as well as

the individuals account tradelines.

       24.     Defendant Equifax is well aware that the effect of a reaffirmation of a debt

is that the debt is not discharged, meaning that the consumer remains liable for the debt

and continues making payments on the debt.

       25.     Defendant Equifax had notice of Plaintiff’s bankruptcy through

independent collection of consumer information as well as from information furnished by

tradeline furnishers. Defendants reported Plaintiff’s bankruptcy filing and/or discharge in

the public record section of their credit reports, as well as in individual account

tradelines.

       26.     Information regarding whether a debt has been reaffirmed or successfully

challenged through an adversary proceeding is retrievable from the same sources Equifax

                                             5
         CASE 0:20-cv-02520-MJD-HB Doc. 1 Filed 12/11/20 Page 6 of 18




obtains the bankruptcy case information, as well as from information provided to Equifax

from furnishers of account/tradeline information.

       27.      Rather than following reasonable procedures to assure maximum possible

accuracy, Defendant Equifax reports information regarding pre-bankruptcy debts even if

that information ignores or contradicts information already known by Defendants,

information provided by furnishers of account/tradeline information, or information

contained in public court records that Defendant has obtained through its independent

efforts, or could easily obtain through reasonably available public records.

       28.      Defendant Equifax is on continued notice of its inadequate post-bankruptcy

reporting procedures, including reporting inaccurate balances, and account and payment

statuses, through the thousands of lawsuits and FTC and Consumer Financial Protection

Bureau complaints filed against it for inaccurate reporting following consumer

bankruptcies.

       29.      In or around December 2018, Plaintiff obtained a loan with CarMax Auto

Finance (the “Account”), account No. 3135*

       30.      On or about December 30, 2019, Plaintiff filed for a voluntary bankruptcy

under Chapter 7 of Title 11 of the Bankruptcy Code, in the United States Bankruptcy

Court for the District of Minnesota (St. Paul), petition number 19-34002.

       31.      During the bankruptcy process, Plaintiff reaffirmed her obligations under

the Account, on or about January 23, 2020, meaning Plaintiff remained personally

responsible for the debts and the same were not included in her bankruptcy discharge.



                                             6
         CASE 0:20-cv-02520-MJD-HB Doc. 1 Filed 12/11/20 Page 7 of 18




       32.     Plaintiff received a discharge in bankruptcy court on or about March 30,

2020 and continued making regular payments on the reaffirmed debt.

       33.     Plaintiff filed for bankruptcy and reaffirmed the Account to rebuild and

improve her credit.

       34.     Sometime after Plaintiff’s bankruptcy discharge, Plaintiff obtained her

Equifax, nonparty Experian, and nonparty Trans Union consumer credit reports to make

sure the bankruptcy reporting was accurate.

       35.     Plaintiff learned Equifax was inaccurately reporting Plaintiff’s reaffirmed

Account as being included in/discharged by Plaintiff’s bankruptcy, which conveys to

creditors/lenders that the account was discharged or non-current/non-paid, even though

Plaintiff reaffirmed the debt and continued to make ongoing payments.

       36.     Before filing for bankruptcy, Plaintiff never missed a payment on the

Account. Plaintiff has continued to make timely payments on the Account and is current

on all payments to date on the Account.

       37.     Plaintiff reaffirmed the Account during bankruptcy, remaining personally

liable for the obligation and the debt was indisputably not discharged. Plaintiff did this to

maintain some of her credit history and to rebuild/re-establish credit through timely

monthly payments on the reaffirmed Account.

       38.     However, when Plaintiff pulled her credit reports, Plaintiff discovered that

Equifax was not reporting the Account’s positive payment history despite reaffirmation

of the debt.



                                              7
            CASE 0:20-cv-02520-MJD-HB Doc. 1 Filed 12/11/20 Page 8 of 18




          39.   Equifax’s reporting was therefore patently false and materially misleading,

as the Account was reaffirmed and not discharged by Plaintiff’s bankruptcy and Plaintiff

continued to make timely monthly payments on the Account.

          40.   On or about August 05, 2020, Plaintiff sent a letter to Equifax disputing its

inaccurate reporting of the Account.

          41.   The letter specifically advised that Plaintiff did not include the Account in

her bankruptcy, remained personally obligated for the debt, and continued to make

regular payments on the Account.

          42.   Upon information and belief, Equifax received Plaintiff’s dispute letter.

          43.   Upon information and belief, Equifax forwarded Plaintiff’s dispute to

CarMax within 5 business days of receipt.

          44.   On or about August 17, 2020, Equifax responded to Plaintiff’s dispute

letter.

          45.   Equifax’s response indicated that the Account was reporting accurately and

that the “creditor has verified to [Equifax] that the current status is being reported

correctly”.

          46.   Upon information and belief, Equifax did not investigate Plaintiff’s dispute

and merely forwarded an automated dispute form to CarMax. Rather than perform an

investigation based on Plaintiff’s dispute, reasonably available public records, and

information known by Equifax through Plaintiff’s reported payment history regarding on

the Account, Equifax merely parroted information furnished by CarMax despite



                                               8
            CASE 0:20-cv-02520-MJD-HB Doc. 1 Filed 12/11/20 Page 9 of 18




awareness that the information was factually inaccurate and conflicted with information

known by Equifax.

          47.   Upon information and belief, CarMax failed to conduct a reasonable

investigation after receiving notice of Plaintiff’s dispute from Equifax. Consequently,

CarMax continued to furnish inaccurate data to Defendant Equifax.

          48.   As a result of Defendants’ conduct, Plaintiff has sustained actual damages

including but not limited to, embarrassment, anguish, and emotional and mental pain.

          49.   Upon information and belief, had Defendant Equifax accurately reported

the Account as a positive account with a positive payment history, Plaintiff’s credit score

and credit worthiness would have been better.

          50.   Defendants’ conduct exacerbated Plaintiff’s frustration during the already

stressful post-bankruptcy period by hindering Plaintiff’s ability to rebuild Plaintiff’s

credit.

          51.   Upon information and belief Plaintiff applied for a credit card with JP

Morgan Chase and Discover and was denied due to Defendants inaccurate reporting

which was published to JP Morgan Chase and Discover in its review of Plaintiff’s

application.

                                             COUNT I
                                        Defendant Equifax
                        (Violations of the FCRA, 15 U.S.C. § 1681 et seq.)

          52.   Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.



                                             9
         CASE 0:20-cv-02520-MJD-HB Doc. 1 Filed 12/11/20 Page 10 of 18




       53.    The FCRA requires credit reporting agencies, like Equifax, to “follow

reasonable procedures to assure maximum possible accuracy of the information

concerning the individual about whom the report relates.” 15 U.S.C. § 1681e(b).

       54.    Equifax negligently and/or willfully violated 15 U.S.C. § 1681e(b) by

failing to follow reasonable procedures to assure maximum possible accuracy of the

information included in Plaintiff’s credit file/report, and also by failing to report accurate

information when placed on notice that the information Equifax is reporting is inaccurate,

and/or otherwise contradicted by information known by Equifax or reasonably available

to Equifax.

       55.    Consequently, Defendant routinely reports inaccurate, and materially

misleading information about consumers like Plaintiff, without verifying the accuracy of

this information, or updating this information as required by § 1681(e)(b) when

Defendant possesses information inconsistent with the reported information, and possess

information establishing that the reported information is in fact inaccurate.

       56.    Defendants possesses information from which they know the reported

information is inaccurate, as Defendant knew Plaintiff’s payment history prior to

bankruptcy, and knew that Plaintiff’s payments remained ongoing, and that the debt was

reaffirmed.

       57.    Defendant knew or should have known of their obligations under the

FCRA, especially pertaining to reaffirmed debts. These obligations are well established

by the plain language of the FCRA, well-established case law, and in prior cases

involving Defendant from which Defendant is on notice of their unreasonable procedures.

                                             10
         CASE 0:20-cv-02520-MJD-HB Doc. 1 Filed 12/11/20 Page 11 of 18




       58.    Defendant has obtained or has available substantial written materials that

apprised Defendants of duties and obligations mandated by the FCRA, including where

consumers file for Chapter 7 Bankruptcy and reaffirm a debt.

       59.    Defendant regularly conducts voluntary public records searches with the

intention of including bankruptcy information on the credit reports it sells to other parties.

       60.    Defendant voluntarily conducted public records searches and obtained

information about Plaintiff’s bankruptcy, listed debts, and reaffirmation, for the purpose

of reporting this information in their consumer credit reports.

       61.    The diligence Defendant exercises in recording consumer bankruptcy

filings is not replicated in Defendant’s reporting of the effect of the bankruptcy upon

consumer debts, including reaffirmed debts.

       62.    Despite knowledge of its legal obligations, Defendant acted willfully in

consciously breaching known duties and deprived Plaintiff of her rights under the FCRA.

       63.    Defendant inaccurately reported Plaintiff’s reaffirmed Account as included

in Plaintiff’s bankruptcy when Defendant knew Plaintiff continued to make timely

payments on the Account, and remained liable for the Account, which was excluded from

her discharge.

       64.       Defendant therefore violated 15 U.S.C. § 1681e(b) by failing to use

reasonable procedures to ensure maximum possible accuracy of Plaintiff’s consumer

disclosure.

       65.    The inaccurate reporting of Plaintiff’s information has caused Plaintiff to

suffer from stress, anxiety, headaches, frustration, and emotional and mental pain and

                                             11
           CASE 0:20-cv-02520-MJD-HB Doc. 1 Filed 12/11/20 Page 12 of 18




anguish, a decreased credit score. Moreover, the inaccurate reporting of Plaintiff’s

Account has deprived Plaintiff of credit opportunities and resulted in credit denials.

          66.   In addition to failing to follow reasonable procedures, Defendant Equifax

willfully and/or negligently violated 15 U.S.C. §§ 1681(i) by failing to perform a

reasonable reinvestigation of Plaintiff’s consumer disputes, as the FCRA requires.

          67.   Even after Plaintiff notified Equifax of the inaccurate information it

included in Plaintiff’s credit file, Equifax continued to inaccurately report the reaffirmed

Account as “included in bankruptcy.”

          68.   Defendant failed to reasonably investigate, despite already possessing

independent knowledge of Plaintiff’s Chapter 7 Bankruptcy, and the effect thereof on the

reaffirmed account, as well as knowledge of Plaintiff’s payment history and ongoing

payments.

          69.   Defendant unreasonably refused to take the corrective measures required by

the FCRA to correct, modify or update, inaccurate information on Plaintiff’s consumer

report.

          70.   When a consumer disputes the accuracy or completion of information

included in a CRA’s credit file, the FCRA requires the agency to either conduct a

reasonable reinvestigation into the disputed information or delete the disputed

information from the consumer’s credit file within thirty (30) days of receiving notice of

the dispute. 15 U.S.C. § 1681i(a)(2)(A).




                                             12
         CASE 0:20-cv-02520-MJD-HB Doc. 1 Filed 12/11/20 Page 13 of 18




       71.     When conducting its reinvestigation of disputed information in a consumer

report, the credit reporting agency is required to “review and consider all relevant

information submitted by the consumer.”

       72.     Additionally, the CRA must notify the person who furnished the disputed

information of the consumer’s dispute within five business days of its receipt. When

notifying the furnisher of the consumer’s dispute, the CRA is to “include all relevant

information regarding the dispute that the agency received from the consumer.” 15

U.S.C. § 1681i(a)(2)(A).

       73.     Thus, in addition to violating the FCRA by failing to follow reasonable

procedures, Defendant additionally violated the FCRA by failing to perform a reasonable

reinvestigation of the disputed Account even after Plaintiffs notified Defendant of the

inaccurate information in Plaintiff’s credit file.

       74.     Instead of reasonably reinvestigating Plaintiff’s dispute, Equifax “verified”

the tradeline was accurate and continued to report the reaffirmed Account as “included in

bankruptcy.”

       75.     Defendant Equifax’s violations of 15 U.S.C. § 1681i include, but are not

limited to the following:

       a)      Failing to reasonably reinvestigate the inaccurate information Plaintiff

               disputed.

       b)      Failing to consider all relevant information while investigating Plaintiff’s

               dispute.



                                              13
        CASE 0:20-cv-02520-MJD-HB Doc. 1 Filed 12/11/20 Page 14 of 18




       c)     Failing to include all relevant information when notifying CarMax of

              Plaintiff’s dispute.

       76.    Defendant’s acts, as described above, were done willfully and knowingly.

       77.    Defendant is a direct and proximate cause, as well as a substantial factor in

causing damages and harm to Plaintiff. Consequently, Defendant is liable for actual and

statutory damages, punitive damages, attorneys’ fees, costs, as well as other such relief

permitted by 15 U.S.C. § 1681 et seq.

       78.    Plaintiff suffers damages, including credit harm, loss of credit opportunity,

credit denials, and other financial harm caused by Defendant. Plaintiff also suffers

interference with daily activities, as well as physical and emotional distress, including,

without limitation, emotional and mental anguish, headaches, humiliation, stress, anger,

frustration, shock, embarrassment, and anxiety.

                                           COUNT II
                               Defendant CarMax Auto Finance
                       (Violations of the FCRA, 15 U.S.C. § 1681s-2(b))


       79.    Plaintiff incorporates by reference all the above paragraphs of this

Complaint as though fully stated herein.

       80.    The FCRA requires that furnishers of information like CarMax to conduct

an investigation with respect to disputed information, review all relevant information, and

report the results of the investigation to the credit reporting agency. If the investigation

reveals the information is incomplete or inaccurate, report those results to all credit

reporting agencies to which the furnisher has provided the inaccurate information.


                                            14
         CASE 0:20-cv-02520-MJD-HB Doc. 1 Filed 12/11/20 Page 15 of 18




       81.    CarMax knew or should have known about its obligations under the FCRA.

These obligations are well established in the plain language of the FCRA, in the

promulgations of the Federal Trade Commission, and in well-established case law.

CarMax obtained or had available substantial written materials that apprised them of its

duties under the FCRA. Despite knowing these legal obligations, CarMax acted

consciously in breaching its known duties and deprived Plaintiff of his rights under the

FCRA.

       82.    Plaintiff disputed the CarMax tradeline through national CRA Equifax.

       83.    Thereafter, the credit reporting agencies forwarded Plaintiff’s dispute to

CarMax, notifying CarMax that Plaintiff was disputing the information it had furnished

about the Account.

       84.    CarMax received notice of Plaintiff’s dispute and failed to reasonably

investigate or otherwise take corrective measures despite possessing all relevant

knowledge regarding the dispute.

       85.    CarMax continues to furnish inaccurate information about Plaintiff

Equifax, even though CarMax possessed all relevant information about the Account and

the inaccuracy that Plaintiff disputed.

       86.    The inaccurate CarMax account materially and adversely affects Plaintiff’s

credit standing.

       87.    On at least one occasion within the past two years, by example only and

without limitations, Defendant CarMax violated 15 U.S.C. § 1681s-2(b)(1)(A) by failing

to fully and properly investigate Plaintiff’s dispute to Equifax.

                                             15
           CASE 0:20-cv-02520-MJD-HB Doc. 1 Filed 12/11/20 Page 16 of 18




      88.      CarMax violated sections 15 U.S.C. §§ 1681n and 1681o of the FCRA by

engaging in willful and negligent noncompliance of 15 U.S.C. § 1681s-2(a), (b), and

engaging in conduct that violates 15 U.S.C. § 1681s-2(a), (b), including:


      a)       Willfully and negligently failing to conduct an investigation of Plaintiff’s

               dispute, despite possessing knowledge, information, and records to

               substantiate Plaintiff’s dispute;

      b)       Willfully and negligently failing to review all relevant information

               concerning Plaintiff’s dispute;

      c)       Willfully and negligently failing to report the results of investigations to the

               relevant consumer reporting agencies;

      d)       Willfully and negligently failing to report to the CRAs that the disputed

               information is indeed inaccurate;

      e)       Willfully and negligently failing to properly participate, investigate and

               comply with the reinvestigations that were conducted by any and all

               consumer reporting agencies concerning the inaccurate information

               disputed by Plaintiff;

      f)       Willfully and negligently continuing to furnish and disseminate inaccurate

               credit, account and other information concerning the Plaintiff to the

               consumer reporting agencies despite actual knowledge of the falsity of the

               reported information; and




                                              16
        CASE 0:20-cv-02520-MJD-HB Doc. 1 Filed 12/11/20 Page 17 of 18




       g)     Willfully and negligently failing to comply with the requirements for

              furnishers of information enumerated in 15 U.S.C. § 1681s-2(b).

       89.    CarMax unreasonably refused to take corrective measures required by the

FCRA to correct and/or update Plaintiff’s consumer information furnished to the national

consumer reporting agencies.

       90.    CarMax is a direct and proximate cause, as well as substantial factors in

causing damage and harm to Plaintiff.

       91.    Consequently, CarMax is liable to Plaintiff for the full amount of statutory,

actual and punitive damages, as described herein and as allowable by law. Additionally,

Plaintiff is entitled to Plaintiff’s attorneys’ fees and costs, as well as other such relief

permitted by 15 U.S.C. § 1681n and § 1681o.



                                 PRAYER FOR RELIEF

       WHEREFORE, Plaintiff Susan Kneissel respectfully requests judgment be

entered against Defendants for the following:

       A.     Declaratory judgment that Defendants violated the FCRA;

       B.     Actual damages pursuant to 15 U.S.C. § 1681n(a)(1) or § 1681o(a)(1);

       C.     Statutory damages of $1,000.00 pursuant to 15 U.S.C. § 1681n(a)(1);

       D.     Punitive damages pursuant to 15 U.S.C. § 1681n(a)(2);

       E.     Costs and reasonable attorney’s fees pursuant to 15 U.S.C. §§ 1681n(a)(3)

              and 1681o(a)(2);


                                            17
         CASE 0:20-cv-02520-MJD-HB Doc. 1 Filed 12/11/20 Page 18 of 18




       F.      Awarding Plaintiff any pre-judgment and post-judgment interest as may be

               allowed under the law; and

       G.      Any other relief that this Court deems appropriate.

                                     JURY DEMAND

       Pursuant to Federal Rule of Civil Procedure 38, Plaintiff hereby demands a trial

by jury of all issues triable by jury.




       Respectfully submitted this 11th day of December 2020,

                                              By: s/Jenna Dakroub
                                              Jenna Dakroub
                                              Bar Number: 0401650
                                              Attorneys for Plaintiff, Susan Kneissel
                                              Price Law Group
                                              8245 N. 85th Way
                                              Scottsdale, AZ 85258
                                              Telephone: (818) 600-5513
                                              Fax: (818) 600-5413
                                              E: jenna@pricelawgroup.com




                                             18
